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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

  REBECCA DAY,                                          )
                                                        )
                  Plaintiff,                            )
                                                        )
          v.                                            )       No.         12-CV-603-TCK-FHM
                                                        )
  GC SERVICES, LP,                                      )
                                                        )
                  Defendant.                            )

                                    PLAINTIFF’S COMPLAINT

          NOW COMES Plaintiff, REBECCA DAY (“Plaintiff”), through her attorneys, and

  hereby alleges the following against GC SERVICES, LP (“Defendant”):

                                          INTRODUCTION
          1.      Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices

  Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).

                                   JURISDICTION AND VENUE

          2.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states

  that such actions may be brought and heard before “any appropriate United States district court

  without regard to the amount in controversy.

          3.      Defendant conducts business in the State of Oklahoma establishing personal

  jurisdiction.

          4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

                                               PARTIES

          5.      Plaintiff is a natural person who resides in Mannford, Oklahoma.


          6.      Plaintiff is obligated, or allegedly obligated, to pay a debt as “debt” is defined by

  15 U.S.C. § 1692a(5).
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          7.         Plaintiff, therefore, is a “consumer” as that term is defined by 15 U.S.C. §

  1692a(3).


          8.         Defendant is a business entity with an office located at 6330 Gulfton St.,

  Houston, Texas.

          9.         Defendant uses instrumentalities of interstate commerce or the mails in any

  business the principal purpose of which is the collection of any debts, or who regularly collects

  or attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or due

  another.

          10.        Defendant is a "debt collector" as that term is defined by 15 U.S.C. § 1692a(6).

          11.        Defendant acted through its agents, employees, officers, members, directors,

  heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                       FACTUAL ALLEGATIONS

          12.        Defendant contacts Plaintiff attempting to collect a credit card debt on behalf of

  Chase Bank USA, N.A.

          13.        The debt arises from transactions which were for personal, family and household

  purposes

          14.        In its collection attempts, Defendant mails letters and places telephone calls to

  Plaintiff.

          15.        Defendant places telephone calls to Plaintiff at her place of residence at telephone

  number xxx-xxx-4224.

          16.        Defendant will leave a voice messages for Plaintiff when Plaintiff is unable to

  answer its call.




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         17.     In or around September 2012, Defendant called Plaintiff in connection with its

  attempts to collect the Chase debt and left a voicemail fro Plaintiff. See transcribed of voice

  message, attached hereto as Exhibit A.

         18.     Defendant asks Plaintiff to return its call(s) to 602-674-1574. See Exhibit A.

         19.     The telephone number provided, 602-674-1574, connects callers directly to

  Defendant’s collector that left the message.

         20.     However, Defendant’s collector does not identify its company to inform Plaintiff

  which company she is being asked to call back. See Exhibit A.

         21.     Defendant’s collector also failed to inform Plaintiff that it is a debt collector or

  that its call is about a debt. See Exhibit A.

         22.     Defendant withholds its identity and nature of its call to mislead and deceive

  Plaintiff into calling so it can procure money from her.

                                COUNT I
      DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT,
                      (FDCPA), 15 U.S.C. § 1692 et seq.

         23.     Defendant violated the FDCPA.         Defendant’s violations include, but are not

  limited to the following:

                 a)      Defendant violated §1692d of the FDCPA by engaging in conduct of

                         which the natural result is the abuse and harassment of the Plaintiff;

                 b)      Defendant violated §1692d(6) of the FDCPA by placing telephone calls

                         without providing meaningful disclosure of its identity;

                 c)      Defendant violated §1692e(10) of the FDCPA by using deceptive means

                         to collect or attempt to collect the alleged debt; and

                 d)      Defendant violated §1692e(11) of the FDCPA by failing to disclose that

                         its calls were from a debt collector.


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         WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

  Defendant for the following:

         24.    Statutory damages of $1000.00, pursuant to the FDCPA, 15 U.S.C. § 1692k.

         25.    Costs and reasonable attorney’s fees pursuant to the FDCPA, 15 U.S.C. § 1692k.

         26.    Any other relief that this court deems to be just and proper.



                                              RESPECTFULLY SUBMITTED,

                                              PARAMOUNT LAW

                                              _/s/ Victor R. Wandres_____
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                                              Attorney for Plaintiff




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